  Case 19-00603       Doc 18   Filed 02/01/19 Entered 02/01/19 11:11:59               Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                       )                BK No.:      19-00603
JENNIFER MARIE MURUKAS                       )
                                             )                Chapter: 7
                                             )
                                                             Honorable Pamela S. Hollis
                                             )
                                             )               Joliet
               Debtor(s)                     )

                           ORDER MODIFYING THE AUTOMATIC STAY

        THIS CAUSE coming to be heard on the motion of NATIONSTAR MORTGAGE LLC D/B/A
MR. COOPER, by and through its attorneys, Shapiro Kreisman & Associates, LLC, the Court having
jurisdiction, being advised in the premises and due notice having been given;
IT IS HEREBY ORDERED:
1. That the automatic stay heretofore entered is modified to the extent necessary to allow
NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER to foreclose the mortgage or, in its sole
discretion, to accept a short sale or deed in lieu of foreclosure on the real property commonly known as:
15243 Kenmare Circle, Manhattan, IL 60442.
2. That Federal Bankruptcy Rule 4001(a)(3) is not applicable to this order.




                                                          Enter:


                                                                   Honorable Pamela S. Hollis
Dated: February 01, 2019                                           United States Bankruptcy Judge

 Prepared by:
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